       Case 1:25-cv-00402-AHA            Document 45        Filed 02/26/25      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                  Plaintiffs,
                                                           Civil Action No. 25-00400 (AHA)
          v.

  UNITED STATES DEPARTMENT
  OF STATE, et al.,

                  Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                  Plaintiffs,
                                                           Civil Action No. 25-00402 (AHA)
          v.

  DONALD J. TRUMP, et al.,

                  Defendants.


               DEFENDANTS’ CLARIFICATION OF JOINT STATUS REPORT


       Defendants stated in the status report that “As of this morning, [the individualized

review] process has been completed for USAID and State Department” and that “Secretary

Rubio has now made a final decision with respect to each award, on an individualized basis,

affirmatively electing to either retain the award or terminate it pursuant to the terms of the

instrument or independent legal authority as inconsistent with the national interests and foreign

policy of the United States.” JSR at 16. That statement is true for grants and federal assistance

award obligations. In addition, although the State Department has completed the review process

for all grants and federal assistance award obligations, there are still 297 State Department

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       Case 1:25-cv-00402-AHA         Document 45       Filed 02/26/25   Page 2 of 2




contracts that need to be reviewed. 2/26 Marocco Declaration, ¶ 2.



   Dated: February 26, 2025         Respectfully submitted,

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                                     ALEXANDER K. HAAS
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                                     LAUREN A. WETZLER
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                                     /s/ Indraneel Sur
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